Case 2:03-cv-02352-.]PI\/|-tmp Document 132 Filed 08/24/05 Page 1 of 3 Page|D 124

 

     

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wEsTERN DISTRICT 0F TENNESSEE
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c sc Q, .F.f‘
COURTNEY MONTEZ MEANS, CL‘§],LLF~ §§ wiggng
Plaintiff,
vs. No.: 03-2352-MI/P

SHELBY COUNTY, et al.,

Defendants.

 

_ AMENDED SCHEDULING ORDER

 

The parties have filed a Joint Motion to Continue the trial date and all deadlines in this
case. For good cause shown, the Court continues the trial from its present setting and resets the
deadlines in this case as follows:

COMPLETING ALL DISCOVERY: October 31, 2005;

DISPOSITIVE MOTIONS: November 15, 2005;

TRIAL: Monclay, February 13_, 2006 at 9:30 A.M.',

PRE-TRLAL CONFERENCE; |/lond@¢, F%mw;¢j 2006 a-+'Q:w/l-M"j

PRE-TRIAL ORDER: dangng 20 2006.

QW‘OM

P. McCALLA
Jnited States District Judge

SO ORDERED this qday£ ofAugusr 2005

 

(Signatures of counsel 011 next page)

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Case 2:03-cv-O2352-.]PI\/|-tmp Document 132 Filed 08/24/05 Page 2 of 3 Page|D 125

APPROVED FOR ENTRY:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 132 in
case 2:03-CV-023 52 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

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US DISTRICT COURT

